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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
                v.                             )       M.B.D. Case No. 20-mc-91393-DJC
                                               )
DELVEN CARVALHO-CENTEIO,                       )
                                               )
       Defendant                               )


                ORDER OF CONTINUANCE AND EXCLUDABLE DELAY

       Upon consideration of the motion seeking an order of continuance and

excludable delay, to which defendant Delven Carvalho-Centeio has assented through his counsel,

the Court finds as follows:

       1.       This case was initiated against the defendant in June 2020 by a criminal complaint in

United States v. Michael Brandao et al, Case No. 20-MJ-06383-MPK. The government has

provided initial discovery to the defendant, and is in the process of providing additional discovery

to the defendant. In addition, counsel for the parties have had initial discussions regarding a possible

resolution of the case. The requested continuance will allow the defendant to continue preparing for

any trial, as well as to review a potential disposition that could occur pre-indictment. Such a pre-

indictment resolution could benefit the defendant.

       2.       Accordingly, in light of all of the above, the ends of justice served by granting the

requested continuance, and excluding the time period from October 19, 2020 through and including

November 20, 2020 from the speedy trial clock, outweigh the best interests of the public and the

defendants in a speedy trial pursuant to the Speedy Trial Act, 18 U.S.C. §§3161(h)(7)(A), and

Sections 5(b)(7)(B) and 5(c)(1)(A)of the Plan for Prompt Disposition of Criminal Cases for the

United States District Court for the District of Massachusetts (effective December 2008).
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       Accordingly, the Court hereby grants the motion and ORDERS that, pursuant to the Speedy

Trial Act, 18 U.S.C. §§3161(h)(7)(A), and Sections 5(b)(7)(B) and 5(c)(1)(A)of the Plan for Prompt

Disposition of Criminal Cases, (1) the date on which an indictment or information must be filed is

continued to November 20, 2020; and (2) the period from October 19, 2020 through and including

November 20, 2020 is excluded from the speedy trial clock and from the time within which an

indictment or information must be filed.



                                      _________________________________________
                                      HON. DENISE J. CASPER
                                      UNITED STATES DISTRICT JUDGE

DATE: October 21, 2020




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